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                      UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            BEAUFORT DIVISION

UNITED STATES ex rel.                 )
CHRISTOPHER F. YOUNG,                 )
                                      )
       Plaintiff-Relator,             )
                                      )    CIVIL ACTION FILE NO.
       vs.                            )    9:20-2959-BHH
                                      )
LAFARGE, S.A., LAFARGE                )
CORPORATION, LAFARGE                  )    FILED IN CAMERA
NORTH AMERICA, INC.,                  )    UNDER SEAL
LAFARGE BUILDING                      )
MATERIALS, INC., CEMENTOS             )    AMENDED COMPLAINT
ARGOS S.A., ARGOS USA CORP.,          )    Jury Trial Requested
ARGOS CEMENT LLC, ARGOS               )
READY MIX LLC, ELITE                  )
CONCRETE LLC, ELITE                   )
CONCRETE HOLDINGS, LLC,               )
ELITE CONCRETE OF SC, LLC             )
COASTAL CONCRETE, INC.,               )
COASTAL CONCRETE                      )
COMPANY, INC., COASTAL                )
CONCRETE SOUTHEAST II, LLC,           )
EVANS CONCRETE HOLDINGS,              )
INC., EVANS CONCRETE, L.L.C.,         )
THOMAS CONCRETE, INC.,                )
THOMAS CONCRETE OF GEORGIA, INC., )
THOMAS CONCRETE OF SOUTH              )
CAROLINA, INC., GREG MELTON,          )
PAT MOONEY,                           )
RICHARD A. STANKWYTCH,                )
TROY D. BAIRD, HURLEY S.              )
COOK, DAVID MELTON, TIM               )
COUGHLIN, TIM MAHONEY,                )
TOMMY STRICKLAND, and                 )
TIMOTHY “BO” STRICKLAND,              )
                                      )
       Defendants.                    )
______________________________________)




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                                        INTRODUCTION

1.         This action arises out of antitrust conspiracy involving the above-named Defendants,

among whom are corporate entities that are the largest Ready-Mix Concrete producers in Southeast

Coastal Georgia and Southeast Coastal South Carolina, to recover civil penalties and damages

arising from Defendants’ actions in submitting and causing to submit false claims to the United

States Government, the States of South Carolina and Georgia, along with several municipal and

local government entities, including counties, schools, local public boards, bodies or commissions,

hospitals, and other political subdivisions of the States and local governments. Defendant Argos

USA, Inc. (“Argos”), and its predecessor Lafarge North America, Inc. (“Lafarge”) are at the center

of these conspiracies. Defendant Greg Melton, Division Manager for Argos, conspired with other

Defendants, both natural persons and corporate entities above named, to fix prices of concrete and

“divide up the pie” giving each conspirator a piece of the local business by rigging bids. Greg

Melton with the knowledge, support, and complicity of his supervisors at Lafarge/Argos entered

into these unlawful agreements with “competitors” that were actually co-conspirators, allowing

them to cheat federal, state, and local governments out of millions of dollars. By entering into

these unlawful agreements to fix prices and rig bids among co-conspirators, Greg Melton and

Argos, effectively created their own cement and concrete cartel in Southeast Coastal Georgia and

South Carolina.

     2.       Relator had worked as a sales manager for Lafarge in Northwest, Georgia and General

Manager for West Atlanta and North Alabama prior to working in the Savannah, Statesboro, and

Hilton Head market, and transferred to the sales area within the company on or about February

2010. Shortly after his transfer to the Savannah and surrounding area, he began observing

Lafarge/Argos and Greg Melton, participating in conspiracies with Defendants Elite Concrete,



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LLC and their affiliates (“Elite”), Coastal Concrete, Inc., which was in Georgia and South

Carolina, and their affiliates (“Coastal”), and Evans Concrete, L.L.C. and their affiliates

(“Evans”). Relator observed that Greg Melton and Lafarge/Argos were engaged in a conspiracy

in order to suppress and eliminate competition in the concrete market by fixing prices, rigging

bids, and/or allocating jobs and territories. The actions of Greg Melton and Lafarge/Argos in

conspiring to engage and engaging in this behavior was a per se unreasonable restraint of trade

under the Sherman Act and federal antitrust law.

3.     Relator gathered evidence, including audio recordings that the Defendants have engaged

and are engaging in conspiracies and entering unlawful agreements to fix prices, rig bids, and

allocate jobs and territories amongst the conspirators, which artificially inflates the prices of ready-

mix concrete in the region of Southeast Coastal Georgia and South Carolina. In recordings, audio

and written documents, Defendants have admitted to fixing prices, rigging bids, and allocating

territories and percentages of that market, and these agreements to engage in non-competitive

behavior have impacted interstate commerce and have caused some of their customers, including

governmental entities, to pay higher prices for ready-mix concrete.

4.     Defendants’ conspiracies concerned a highly standardized and interchangeable product and

occurred against a background of supply and demand factors that were common to all customers.

Moreover, Argos was the supplier of Portland cement, one of the main ingredients of ready-mix

concrete, to some or all of the Defendants. Argos also supplied aggregate materials used in the

production of ready-mix concrete. Because of the standardization, interchangeability of the

product, and the fact that Argos was a major supplier of one of the main components of ready-mix

concrete, setting prices and making parallel price movements among the conspirators was

facilitated. These conspiracies occurred on a backdrop of Argos attaining vertical integration of




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the cement and ready-mix concrete market throughout the Southeast (by acquiring dozens of

cement plants, ready-mix concrete plants, cement terminals, and other facilities), thus solidifying

its dominance in the market. As a result of the conspiracies and Defendant Argos’ vertical

integration of the local market, Defendants were able to suppress and eliminate competition by

artificially lowering their prices in bids for projects when outside competitors, or non-conspirators,

because they were able to artificially sustain or raise the price of ready-mix concrete paid by

customers victim to the conspiracy among Defendants. Underbidding non-conspirator competitors

was accomplished through the use of rebates from Argos Cement, LLC., the supplier of the cement

component of ready-mix concrete. Moreover, this pernicious, anti-competitive practice of

weaponizing rebates from Argos Cement, LLC, to underbid non-conspirator competitors, along

with underpricing ready-mix concrete, was perpetuated to effectively squash any competition in

the Savannah/Hilton Head Market and other areas including Atlanta, Charleston, Macon and other

territories in Florida, so that Argos and their conspirators could, in turn, raise and sustain prices as

they pleased after the competitors were eliminated or otherwise neutralized in the market.

5.     In addition to their anti-competitive bidding practices and the artificially lowering the

prices of cement and ready-mix concrete, Argos attempted to exclude non-conspirator competitors

in the ready-mix concrete market from obtaining supplies such as cement or aggregate, and by

selling an inferior concrete mix with a disproportionate amount of inexpensive fly-ash to finishers

that refused to collude in their anti-competitive and fraudulent conspiracies.

6.     Through their unlawful agreements and conspiracies, Defendants violated the False Claims

Act in the following particulars:

       (a)     making, using or causing to be made or used, false statements and representations

               about their pricing and bidding in order to secure government contracts and




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               payments;

       (b)     failing to fulfill contract bidding and performance requirements and related laws

               and rules, that preclude contractors from engaging in anticompetitive and

               collusive activities, including bid-rigging, price fixing and related agreements;

       (c)     offering inducements, coercing, or otherwise inducing companies which

               submitted low bids for contracts to withdraw or otherwise curtail shipments under

               those contracts and submitting or causing others to submit higher bids for the

               same work;

       (d)     continuing on a regular and systematic basis to submit invoices and other

               documents to the Government seeking reimbursement for charges artificially

               established through the conspiracies.

7.     This is an action by Relator Christopher F. Young, to recover penalties and damages from

the false statements or records submitted or caused to be submitted by Defendants to the United

States Government, the State of South Carolina, the State of Georgia, and any local governments

or political subdivisions in order to obtain payments of Federal funds.

                                             II.

                                JURISDICTION AND VENUE

8.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein;

9.     Relator brings this action on behalf of himself and the United States, for violations of the

Federal False Claims Act, 31 U.S.C. §§ 3729-3733, seeking penalties and damages in connection

with violations of 31 U.S.C. §§ 3729-3733.

10.    Relator provided written disclosures and material information to the United States prior to




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the filing of this Complaint.

11.    This Court has Federal subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 31 U.S. C. § 3732.

12.    This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. § 3732(a)

because Defendants can be found in and transact business in this District. In addition, many acts

prohibited by 31 U.S.C. § 3729 occurred in this District. 31 U.S.C. § 3732(a).

13.    Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) because Defendants

transact business in this District and numerous acts proscribed by 31 U.S.C. § 3729 occurred in

this District. Relator’s claims and this Complaint are not based upon prior public disclosures of

allegations or transactions in a Federal criminal, civil or administrative hearing in which the

government is already a party, or in congressional, government accountability office, or other

federal report, hearing, audit, or investigation, or from the news media, as enumerated in 31 U.S.C.

§ 3730(e)(4)(a).

14.    To the extent that there has been a public or other disclosure unknown to the Relator, the

Relator is the “original source” under 31 U.S.C. § 3730(e)(4)(b).          Relator has direct and

independent material knowledge of the information on which the allegations are based and have

voluntarily provided the information to the United States before filing this qui tam action based on

that information. Since the filing of this action, certain Defendants have been indicted and the

Argos Defendants have entered into a deferred prosecution agreement with the government.

Relator was the original source of the information that led to the prosecution of those Defendants.

15.    In addition to the FCA violations stated herein, Relator also brings suit pursuant to the

retaliation proscriptions of the False Claims Act, U.S.C. § 3730(h).

16.    Relator is entitled to and demands a trial by jury.




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                                                III.

                                              PARTIES

17.    Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein;

18.    Relator Christopher F. Young is a resident of South Carolina and a United States citizen.

Relator Young was employed by Argos (formerly owned by Lafarge) as a Sales Manager for

Savannah, Statesboro, and Brunswick, Georgia, and Hilton Head and the Lowcountry of South

Carolina. He held this position since around February 2010. Relator has been in the

construction business for over 30 years and has been in the ready-mix concrete business since

1997, when he was hired by Defendant Pat Mooney at Blue Circle North America, Inc., which

was acquired by Lafarge on or about 2001. Relator received a Bachelor’s degree in criminal

justice from Troy State University in 1993.

19.    Relator is the original source of the information in this Complaint, pursuant to 31 U.S.C. §

3730(e)(4) and thus has direct and independent knowledge of the information alleged herein.

Within weeks of taking his position as Sales Manager of Argos on or about February 2010, Relator

began to observe these illegal price-fixing and anti-competitive activities.          Disturbed and

concerned, he sent a number of emails from early 2010 to late 2011 to Pat Mooney, the President

of Lafarge (later Argos), outlining, among other things, the price fixing between Greg Melton and

his brother David Melton at Elite. Pat Mooney did nothing to correct the situation and in 2011

after sending further emails reporting this continuing legal activity, Pat Mooney called Relator and

threatened him and said “Don’t ever email me that sh_t again! I have had to send this to the

Company attorney.” Relator got the message to be quiet, not complain and go along with the

activities or be terminated. Relator began to be concerned about his job and career, and also as a




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result of reporting the antitrust conspiracy and cartel, Relator was denied promotions, transfers and

other career advancements.

20.    Additional persons not named as Defendants herein are known to have participated as co-

conspirators with the Defendants and have performed acts in furtherance of the conspiracy. Among

those persons is James Pedrick. Other persons, firms and corporations not named as Defendants

herein may have participated as co-conspirators with the Defendants, and may have performed

acts in furtherance of the conspiracy.

21.    Relator met with the Federal Bureau of Investigation (“FBI”) and the Atlanta Antitrust

Field Office of the U.S. Department of Justice (the “DOJ”) in late 2011 regarding the facts recited

herein and continued to communicate with them and provide evidence detailing Defendants’ price

fixing schemes and conspiracy through December 2012.             More recently, relator met with

representatives of the FBI, U.S. Postal service, and the Department of Justice in December 2019,

concerning Defendants’ violations of the False Claims and Sherman Anti-Trust Acts. Relator has

remained in contact with authorities prosecuting Defendants for Sherman Anti-Trust violations

and other criminal acts and was instrumental in bringing evidence that resulted in the August 2020

indictment of Defendants Gregory Melton, David Melton, Timothy “Bo” Strickland, and Argos,

among other yet unnamed corporate Defendants, and the deferred prosecution agreement Argos

Defendants entered with the U.S. government.

22.    Defendant Lafarge, S.A. is a publicly traded corporation based in Paris, France.

23.    Defendant Lafarge Corporation is a foreign corporation created in Maryland. Upon

information and belief Defendant’s principal office is located in Reston, Virginia.

24.    Defendant Lafarge Building Materials Inc. is a foreign corporation created in Alabama.

Upon information and belief Defendant’s principal office is located in Reston, Virginia.




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25.       Defendant Cementos Argos S.A. is a publicly traded corporation based in Columbia, South

America. According to its website (www.argos-us.com/Why-Argos/History), Cementos Argos,

based in Medellin, Columbia is the fifth largest cement producer in Latin America and the fourth

largest concrete producer in the United States.

26.       Defendant Argos USA Corp. is a foreign corporation created in Delaware. According to its

website (www.argos-us.com/Why-Argos/History), in 2005, Argos USA acquired Southern Star

Concrete Company (50 ready mix plants in Texas and Arkansas) Concrete Express (six ready mix

plants in Georgia and South Carolina) and a cement terminal in Houston Texas. In 2006, Argos

acquired Ready Mixed Concrete Company (approximately 80 Ready Mix plants in North Carolina,

South Carolina and Virginia). In 2007, Argos acquired Central Aggregates LLC (sand reserves),

Houston Ready Mix (four Ready Mix plants in Texas and Chalico (one Ready-Mix plant in

Texas)). On its website, Argos boasts that it acquired cement and ready mix assets (two

cement plants, a clinker mill, 79 concrete plants and six terminals) from Lafarge, thus

becoming vertically integrated in the Southeastern United States. In 2012, it began expansion

of the Harleyville, South Carolina cement plant, further expanding its capabilities in South

Carolina. In 2014, Argos acquired cement and ready-mix assets (one cement plant, two grinding

mills, and approximately 70 ready mix plants) from Vulcan Materials Company in Florida. Argos

currently employs thousands of people and has scores of facilities across the Southeastern United

States.

27.       Defendant Argos Cement LLC is a foreign limited liability company created in Delaware

and its principal office is located in Alpharetta, Georgia.

28.       Defendant Argos Ready Mix LLC is a foreign limited liability company created in

Delaware. Defendant is located in Alpharetta, Georgia.




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29.     Defendant Elite Concrete, LLC is a foreign limited liability company created in Georgia.

Defendant is located in Bloomingdale, Georgia.

30.     Defendant Elite Concrete Holdings, LLC is a foreign limited liability company created in

Georgia. Defendant is located in Bloomingdale, Georgia.

31.     Defendant Elite Concrete of SC, LLC is a domestic limited company organized and

existing under the laws of South Carolina. Defendant is located in Bloomingdale, Georgia.

32.     Defendant Coastal Concrete, Inc. (South Carolina) is a domestic corporation organized and

existing under the laws South Carolina. Defendant is and was at all times relevant to this action

located in Bluffton, South Carolina and Pooler, GA.

33.     Defendant Coastal Concrete Company, Inc. is a foreign corporation created in Georgia.

Defendant is located in Pooler, Georgia.

34.     Defendant Coastal Concrete Southeast II, LLC is a foreign limited liability company

created in Delaware. Defendant is located in Pooler, Georgia.

35.     Defendant Evans Concrete Holdings, Inc. is a foreign corporation created in Georgia.

Defendant in located in Claxton, Georgia.

36.     Defendant Evans Concrete, L.L.C. Inc. is a foreign corporation created in Georgia.

Defendant is located in Claxton, Georgia.

37.     Defendant Greg Melton is an individual and on information and belief is a resident of

Georgia and is a United States citizen.

38.     Defendant Pat Mooney is an individual and on information and belief is a resident of

Georgia and is a United States citizen.

39.     Defendant Richard A. Stankwytch is an individual and on information and belief is a

resident of North Carolina and is a United States citizen.




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40.     Defendant Troy D. Baird is an individual and on information and belief is a resident of

South Carolina and is a United States citizen.

41.     Defendant Hurley S. Cook is an individual and on information and belief is a resident of

Georgia and is a United States citizen.

42.     Defendant David Melton is an individual and on information and belief is a resident of

Florida and is a United States citizen.

43.     Defendant Tim Coughlin is an individual and on information and belief is a resident of

Georgia and is a United States citizen.

44.     Defendant Tim Mahoney is an individual and on information and belief is a resident of

Georgia and is a United States citizen.

45.     Defendant Tommy Strickland is an individual and on information and belief is a resident

of Georgia and is a United States citizen.

46.     Thomas Concrete, Inc. (“Thomas Concrete”) is a foreign corporation created in Georgia.

Defendant is located and based out of Atlanta, Georgia.

47.     Thomas Concrete of Georgia, Inc. (“Thomas Georgia”) is a foreign corporation created in

Georgia. Defendant is located and based out of Atlanta, Georgia.

48.     Thomas Concrete of South Carolina, Inc. (“Thomas South Carolina) is a domestic

corporation operated and existing under the laws of South Carolina and with its principal places

of business located in South Carolina.




                                                 IV.

                                  TRADE AND COMMERCE




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49.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein;

50.     Defendants produced and/or sold ready-mix concrete in a continuous and uninterrupted

flow of interstate commerce to purchasers throughout the United States, including without

limitation, purchasers in the States of South Carolina and Georgia. These business activities and

their conspiracies substantially affected interstate trade and commerce. Moreover, the ready-mix

concrete produced and sold by Defendants is comparable to, and interchangeable with, the ready-

mix concrete produced and/or sold by their competitors.

                                               V.

                      READY-MIX CONCRETE CHARACTERISTICS

51.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein;

52.     Ready-mix concrete is a compound of cement, water, aggregates, and sometimes additives

such as fibers, mesh, and chemical admixtures. Cement and sometimes fly ash, slag, or silica, is

mixed with water to make a binding medium into which sand, gravel, rocks and other aggregates

are embedded. Ready-mix concrete remains in a fluid state for a period of no more than a few

hours, during which time it can be transported to customers, placed, molded, and formed. Ready-

mix concrete hardens over time into a strong and durable material.

53.     Different types of cement, cementitious materials, and aggregates affect the performance

and cost of ready-mix concrete, and make up the largest raw material cost for the production of

ready-mix concrete. Admixtures in the form of fibers, mesh, chemicals and powders are added to

ready-mix concrete to modify the fluid characteristics, slump, setting properties, cure time,

finished properties, finished strength, density and appearance of the final product.




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54.     Ready-mix concrete is manufactured in batch plants. Ready-mix concrete ingredients are

sometimes mixed in the batch plant and sometimes mixed in mixing or agitator trucks. Ready-

mix concrete can be batched by the plant according to several mix designs and customer

specifications. It is typically delivered to customers in mixing or agitator trucks.

55.     The production, delivery, use, and fluid and finished characteristics of ready-mix concrete

are subject to well-established industry and governmental standards intended to ensure the

consistency, predictability, reliability and uniformity of ready-mix concrete. Standards for ready-

mix concrete are propounded and published by ASTM International, the American Concrete

institute, and state transportation and highway agencies in South Carolina and Georgia.

56.     The common standards applicable to ready-mix concrete are known and consistently relied

upon and applied by the Defendants, engineers, architects, designers, builders, quality control

specialists and others. All of the ready-mix concrete manufactured and sold by each of the

Defendants conformed to, or were supposed to conform to, these common industry and

governmental standards.

57.     Ready-mix concrete, including the ready-mix concrete manufactured and sold by each of

the Defendants, is and was used principally in commercial, agricultural, governmental, and

residential construction projects, including sidewalks driveways, foundations, walls, bridges,

roads, slabs, tunnels, highways, and livestock confinement structures. The common standards

applicable to ready-mix concrete applied to all of the uses of the ready-mix concrete sold by the

Defendants.

58.     Because of common industry and governmental standards, ready-mix concrete, including

that manufactured and/or sold by each of the Defendants, is highly interchangeable and

homogenous.       Ready-mix concrete is a commodity, which is interchangeable across




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manufacturers. Although construction projects can be bid under various concrete specifications,

all of the Defendants have, or are employed by entities that have, the equipment and expertise to

meet these specifications.

59.     Interchangeability of the ready-mix concrete is also illustrated by the fact that Argos sells

cement, the primary and most expensive component of ready-mix concrete, to other Defendants

including Coastal, Elite, and Evans.

60.     When products offered by different suppliers are viewed as interchangeable by the

purchaser, it creates an environment more conducive for the suppliers to unlawfully agree on the

price for the product, and in turn to effectively monitor and enforce agreed-upon prices. This

behavior is also facilitated by Argos’ control and vertical integration of the market in the

Southeastern United States.

61.     Because of its unique characteristics, there are few if any economic substitutes for ready-

mix concrete, making demand for the product highly inelastic. “Elasticity” is a term used to

describe the sensitivity of supply and demand changes to changes in one or the other. For example,

demand is said to be “inelastic” if an increase in the price of a product results in only a small (if

any) decline in the quantity sold of that product. In other words, customers have nowhere to turn

for alternative, cheaper products of similar grade or quality, and so continue to purchase despite a

price increase.

62.     In a Decision and Order, the Federal Trade Commission initiated an investigation and

challenged Defendant Lafarge, S.A. and Lafarge Corporation’s acquisition of certain voting

securities of target Blue Circle Industries, PLC and affiliates, several of which were located in

Marietta, Georgia and ordered the divestiture of certain assets. The FTC determined that it had

reason to believe that said parties violated Section 7 of the Clayton Act and Section 5 of the Federal




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Trade Commission Act. A Consent Order was entered into for the divestiture of certain assets on

or about 2001. See Decision and Order In the Matter of Lafarge, S.A., Blue Circle Industries PLC,

and Blue Circle, Inc., Docket No. C-4014 (2001). These are some of the same assets and facilities

that Argos acquired from Lafarge in 2011 and are the subject of this action.

63.     Lafarge was fined over $100 million by the European Commission for participating in a

price fixing plasterboard cartel along with others in France, Britain, and Germany (New York

Times online edition, November 27, 2002). Plasterboard like concrete is widely used in the

building industry. It was reported that Lafarge had committed their second infringement of

European Union Law on restructure agreements, having already been fined once in 1999 (Europa

online edition, November 27, 2002).

64.     In November 2007, the Brazilian branch of Lafarge agreed to pay a fine of $24.2 million

to CADE, the Brazilian antitrust agency. The company also signed a commitment to halt all

activity that may be deemed as contributing to a cement cartel (Global Cement Magazine, February

2008, P. 54, see also Bloomberg online, November 28, 2007).

65.     On or about December 2008, the parent of Argos, Cementos Argos, S.A., was ordered to

pay a fine and was found by Columbia’s antitrust agency to have fixed prices in the second half of

2005. The regulator found there was an exchange of confidential information between Cementos

Argos and two other companies and contacts between officials.

66.     Lafarge appealed this decision but was ordered to pay a fine of $249.3 million antitrust

fine levied by European Union regulators in June of 2010.

67.     In June 2012, it was also reported that Lafarge and other companies were fined a total of

approximately $1.1 billion by the Competition Commission of India (Financial Times online, June

21, 2012).




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68.     In a memorandum created and promulgated by Bill Wagner, president of Argos USA, LLC,

in 2001, when he was the President of Blue Circle Concrete, which was subsumed by Lafarge, and

later Argos USA, LLC, Bill Wagner describes in great detail how Blue Circle engaged in practices

to effectively eliminate competition from competitors in the Southeast Coastal South Carolina and

Georgia markets, which created a roadmap for some of Argos’ anti-competitive practices. The

memorandum which is disclosed with the filing of this Complaint, provides, inter alia, that in order

to effectively squash competition with CEMPAC, a group of cement and ready-mix companies

that were importing cheap foreign cement, Blue Circle and its conspirators would have to

“dramatically lower ready-mix concrete prices removing profitability from the ready-mix market

in Savannah” so as to have a “maximum impact” on the profitability of David Howard’s business

(David Howard was president of Conex, a cement/ready-mix company that led CEMPAC).

69.     This Blue Circle memorandum created by the current president of Argos USA, LLC,

illustrates a pattern of behavior that helps characterize its anti-competitive and illegal conduct; the

memorandum also demonstrates the systemic, anti-competitive nature of Argos’ business practices

in the Southeast Coastal South Carolina and Georgia markets which were not simply limited to a

few bad actors in the Savannah and Statesboro areas; rather the anti-competitive behavior was a

endemic to Argos’ entire business in the Southeast, including Florida, South Carolina, Georgia,

and North Carolina.

70.     The product characteristics of ready mix concrete, including the common ingredients and

manufacturing process of the product, the applicability of common ingredients and manufacturing

process of the product the applicability of common industry and governmental standards to the

product, the interchangeability and homogeneity of the product, the lack of substitutes for the

product, the inelasticity of demand for the product, and Argos’ commanding market share and




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vertical integration of the Southeast market substantially furthered the ability of the Defendants to

effectively conspire, by setting prices, rigging bids, and allocating territories, in the sale of ready-

mix concrete to its customers.

                                                  VI.

                 MARKET AND PRICING FOR READY-MIX CONCRETE

71.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein;

72.     The standardized, interchangeable, and homogenous character of ready-mix concrete has

resulted in a well-defined and common product market among the Defendants and their customers.

For example, the Defendants’ price sheets include mixes and mix categories, alternative

aggregates, chemical admixtures, fibers, seasonal charges and off-hour delivery and delivery

charges that are substantially identical.       Further, the Defendants have all used common

terminology to refer to mixes and mix categories, within their bids and other price proposals made

to customers.

73.     Each of the Defendants identifies the ready-mix concrete mixes or categories of mixes that

they sell using common terminology, including “3000,” “3500,” “4000,” numbers such as “3000”

refer to the finished compressive strength of the ready-mix concrete in terms of pounds per square

inch or “psi.”

74.     The largest share of ready-mix concrete sold by the Defendants falls into just a few mixes

or mix categories.

75.     Only three mixes or mix categories (3000, 4000, and 5000 psi) account for the great

majority of all sales by the Defendants.

76.     The price of the most commonly sold ready-mix concrete, 3000 psi, was understood and




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used by Defendants and their employees as a reference from which the prices of most or all other

mixes could be determined. Thus, if one Defendant knew that another Defendant was offering

3000 psi at a particular price, it could determine the price offered by the other Defendant for most

or all other mixes.

77.     Increases in the price of all mixes could be and were expressed in a single dollar amount.

Thus, if one Defendant communicated to another Defendant or a customer that the original

Defendant was increasing prices by $6.00 for a given year, it was understood by the second

Defendant or customer that this meant a $6.00 increase for the base prices of ready-mix concrete.

78.     The prices of mixes or mix categories that were stated on Defendants’ price sheets were

used as a starting point when Defendants and their employees determined negotiated or discounted

prices to offer in bids, quotes, annual contracts and other pricing. Further, at various times some

or all Defendants offered standard discounts form the prices for mixes or mix categories that were

stated on their price sheets to certain categories of purchasers or for certain uses.

79.     The common price sheets used by the Defendants to announce list prices 1 for common

mixes, mix categories, additives, and additional charges were created by all Defendants on an

annual basis during the first quarter. In 2011 and through 2016, this was preceded by meetings

with Defendants where they discussed and agreed upon price increases, prior to placing in the US

mail. Rarely, revised price sheets were created during the year to account for price changes. The

price sheets to their known customers by mailing to customer lists and/or by hand delivery to larger

customers. Price sheets were provided to potential customers by all Defendants upon request.

Price sheets were used by dispatchers and other employees of all Defendants to determine list

prices or standardized discount prices and were posted or available at all plants.


1
 Price increase letters among competitors were collected and distributed by James Pedrick, Argos salesman for
Savannah, Statesboro, Hilton Head, Beaufort, and Brunswick, so there would be uniform pricing.



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80.     Defendant Ready-Mix concrete companies would also provide discounts through rebates

from Argos Cement, and by setting and, if necessary, later reducing environmental and fuel

surcharges, which was completely fabricated by Defendants, and the proceeds of which were never

paid to any governmental entity or used for environmental or remediation purposes. In fact, on

May 12, 2016 Greg Melton laughed and stated that he is going to jail if the EPA shows up. Prior

to that he stated that the company needs to start loading materials at 4 a.m. so no one can see how

badly Argos was dusting the environment surrounding the plant.

81.     Importantly, Defendants charged these environmental and fuel surcharges in government

jobs, which were bid-rigged and in geographical areas of the market where their anti-competitive

practices had eliminated non-conspirator competitors from the market. Essentially, Defendants

would not give rebates or waive surcharges on jobs wherein there were no non-conspirator

competitors, including government projects.

82.     The product market and pricing practices were common and highly structured among all

Defendants. The common price sheets, the common product mixes, the small number of mixes

accounting for the great majority of Defendants’ sales volume, the common reference point mix

prices, the common method of expressing price increases, and the common practice of determining

negotiated and discounted prices by reference to price sheet prices all substantially furthered the

ability of the Defendants to effectively conspire, by setting prices and rigging bids, in the sale of

ready-mix concrete to their customers, and to monitor and enforce their collusive agreements.

83.     As a result of the concerted efforts of the Defendants, the average sales price for the

Savannah/Hilton Head market increased from $72 per yard in 2010 to $109 in 2016.

84.     For further example of the coordination of price increases, on October 1, 2014, Argos

issued a price increase letter increasing price by $10 per cubic yard effective January 5, 2015. On




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October 24, 2014, Thomas Concrete issued a price increase letter with an identical price increase.

                                              VII.

  MARKET CONCENTRATION AND ARGOS’ VERTICAL INTEGRATION OF THE
                           MARKET

85.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein

86.     Concentration in a particular industry facilitates the operation of a price-fixing conspiracy

because it makes it easier to coordinate behavior among co-conspirators, and at the same time it

makes it more difficult for customers to avoid the effects of collusive behavior. The ready-mix

concrete industry in the area of Southeast Coastal South Carolina and Southeast Coastal Georgia,

served by the Defendants (collectively the “Southeast region”) was highly concentrated, with

Defendants manufacturing the vast majority the ready-mix concrete purchased in the region. The

Defendant companies possessed market power in the Southeast region, such that they were able to

substantially influence or control the price of ready-mix concrete sold.

87.     Defendants market concentration was compounded by the fact that by 2011, Argos had, in

its own words, achieved vertical integration of the Southeast region, by acquiring cement plants,

ready-mix concrete plants, cement terminals, and sources of aggregate materials.

88.     The manufacture and sale of Ready-Mix concrete in Statesboro Georgia where Georgia

Southern University is located was dominated and tightly controlled by Defendants Lafarge/Argos

and Evans. Additionally, these Defendants are actively engaged in a cartel which is in the process

of eliminating competition within the area, and blocking entry from outside competition, through

sharing information and fixing prices for every project bid for Georgia Southern University. Bo

Strickland and Greg Melton would agree on bidding price and terms to permit the other to win

agreed upon contracts. The effect of this concentration and control was enhanced by the sharing



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of pricing, price increase letters and customer information of the Defendants by certain individuals,

and the purchasing of concrete by Evans with Lafarge/Argos. Evans (among other Defendants)

buys its cement from Argos, and Argos buys some of their sand from Evans. Evans sold a number

of Savannah Plants in the mid-2000s and held onto 5 plants (including Statesboro). Argos acquired

these plants from Lafarge in 2011.

89.      Defendants have through their conduct conspired to drive up prices throughout the

Southeast Region, but especially inside of the Savannah/Hilton Head market.2

90.      The manufacture and sale of ready-mix concrete in Savannah Georgia is dominated by

Defendants, Lafarge/Argos, Elite, and Coastal. Greg Melton’s brother, David Melton, who was

until approximately 2006, the general manager of Lafarge/Argos in Savannah runs Elite or did

during a certain period of time relevant to this action. Defendant Lafarge replaced David Melton

with his brother Greg Melton who was then working in Pensacola, Florida for Lafarge.

Additionally, these Defendants actively engage in the process of eliminating competition within

the area and blocking entry from outside competitors through sharing information such as price

bids, customer orders, and price increase letters. Coastal bought, and its successor Thomas

Concrete buys, cement from Argos Cement. The reliance among Defendants and their co-

conspirators to purchase raw materials and services from each other created additional

opportunities to manipulate prices.

91.      After Argos’ acquisition of additional assets from Lafarge in 2011, it became vertically

integrated, and became the second largest cement producer in the Southeast region and the fourth

largest in the U.S.

92.      Pat Mooney, who is, or was for certain periods of time relevant to this action, President of


2
 It should be noted also that the Savannah area price was, at certain times relevant to this action, up to $8.00 a yard
higher than the Macon, Georgia market.



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Argos Southeast, Greg Melton of Argos, and David Melton, are all close friends and attended high

school together at Shamrock High School on or about 1982.

93.     One of the largest customers in the Savannah area is U.S. Army Base Fort Stewart, home

of the 3rd Infantry Division, which is the largest military institution in the Eastern United States.

Also located nearby in Savannah, Georgia is Hunter Army Airfield, which has approximately

5,000 soldiers, airmen and coast guardsmen on station. It is also home for the aviation units of the

3rd Infantry Division headquartered at Fort Stewart. The U.S. Coast Guard Air Station is also

located there.

94.     There are only three ready-mix concrete suppliers who could handle the orders for these

military bases, Argos, Coastal, and Elite, who were all conspiring to fix the price of ready-mix

concrete.

95.     The market in which the Defendant companies were dominant suppliers of ready-mix

concrete was geographically well-defined by the delivery ranges of the Defendants’ plants.

Competition from suppliers outside this geographic market did not substantially affect the ability

of the Defendants to exert control over the price of ready-mix concrete in their geographic market,

because the limited delivery range of these potential competitors made them few in number. These

potential competitors, therefore, did not have an incentive to compete aggressively on price or

territory.

96.     Ready-mix concrete plants have a limited delivery range for both technical and economic

reasons. Because of its setting properties, ready-mix concrete is a perishable product that must be

delivered to its destination in specially designed trucks within a limited amount of time. According

to ASTM International standards, ready-mix concrete must be discharged no later than 1 ½ hours

after either the water is mixed with the cement and aggregates or the cement is mixed with the




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aggregates, or before the drum on a rotating drum truck completes 300 revolutions, unless the

purchaser waives these requirements. In hot weather or other conditions that could cause the

ready-mix concrete to set more quickly, ASTM International standards permit the purchaser to

require discharge before 1 ½ hours elapse.

97.      Delivery range may also be affected by economic factors related to transportation costs and

downtime of equipment. Thus, a supplier may assess the profitability of a particular delivery

distance by reference to fuel costs and the cost of lost use of plant and trucks resulting from longer

delivery and return times.

98.      However, the effect of delivery range on the ability of the Defendant companies to compete

on price, in the absence of collusion in the form of price-fixing, bid rigging, and territorial

allocation, is lessened by two significant factors. First, many of the purchasers of ready-mix

concrete in the Defendants’ geographic market are contractors who are not geographically fixed

in one location. Instead, they service projects and purchase materials throughout the region.

Second, most or all of the Defendants offered annual price quotes, derived from their price sheet

or lists prices, to their larger purchasers without knowing and without regard to the location of the

plant from which the ready-mix concrete would be delivered.

99.      Absent conspiracies by Defendant companies, distance to the job site, delivery range would

affect pricing; however, in the presence of such collusion, each Defendant company priced ready-

mix concrete in accordance with the conspiratorial agreement when price bidding on jobs.

100.     Delivery range also limited the ability of ready-mix concrete companies from outside the

Southeast region to compete with the Defendant companies. Using the same 20-mile range for

delivery, it is apparent that only a limited number of outside company plants could sell ready-mix

concrete for delivery in a location serviced by the Defendant companies.




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101.     In addition to exerting a large amount of control and maintaining a large amount of market

share, Defendants enacted a scheme to underbid any competitors that attempted to enter the

Southeast market, whereby they could submit artificially lower bids against non-conspirator

competitors, because they were artificially maintaining and raising prices when non-conspirator

competitors did not bid on jobs in that market. Argos cement, led by President Chip Hussey,

approved the rebates against certain actual competitors but would not allow rebates to be used

against the co-conspirators.

102.     As discussed, Defendants weaponized the use of rebates from Argos cement by factoring

in rebates when Defendants were bidding against non-conspirator competitors and by charging

more by not applying the rebates when non-conspirator competitors were not bidding on jobs.

103.     Similarly, Defendants would weaponize environmental and fuel surcharges, waiving them

only when they needed to compete on bids with non-conspirator competitors for jobs.

104.     Defendants, thus, overcharged the government and private businesses alike in bids wherein

only conspirators placed bids or where the Defendants had so successfully squashed competition

through their anti-competitive practices that no non-conspirator competitors would bid. As a

result, Argos typically went high on D.O.T. Projects and often won jobs at numbers as high as

$150 per yard

105.     In addition to the weaponization of rebates and surcharges to facilitate bid rigging and

territorial allocation, these conspiracies existed along a corporate culture and backdrop of

coordinated anti-competitive behavior as outlined in the Blue Circle memorandum by Bill Wagner,

whereby competitors were systematically choked out of the market by artificially lowering prices

for an extended period of time to hurt non-conspirator competitors’ profits in the ready-mix

concrete market.




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106.     The well-defined geographic market serviced by the plants of the Defendant companies,

when coupled with the near complete supplier concentration held by Defendant companies and the

limited ability and the limited ability and incentive of outside companies to compete in the region,

provided Defendants with the ability to effectively sustain or raise the price of ready-mix concrete

in their service areas through collusion on prices, bids, and territories.



                                               VIII.

       LAFARGE/ARGOS/ELITE/COASTAL CARTEL AND CONSPIRACY IN THE
                        SAVANNAH AREA MARKET

107.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein

108.     Defendant Greg Melton, Division Manager in charge of sales and pricing of Lafarge/Argos

in Savannah and Statesboro, Georgia and Hilton Head, South Carolina and Relator’s direct

supervisor has and exercised full and final authority over all pricing decisions for ready-mix

concrete sold by Lafarge/Argos.

109.     Defendant David Melton, General Manager and Director of Operations of Elite Concrete,

and brother of Greg Melton (and former General Manager of Defendant Lafarge in Savannah), has

and exercised full and final authority over pricing decisions for ready-mix concrete sold by Elite.

Defendant David Melton exercised final authority for prices of ready-mix concrete, additives, and

related charges that were stated on price sheets, stated in bids, stated in quotes or otherwise offered

to customers or applied to sales by Elite.

110.     Defendants Tim Mahoney, a salesman, and Tim Coughlin, President of Coastal, exercised

full and final authority over all pricing decisions for ready-mix concrete sold by coastal.

Defendants Mahoney and Coughlin exercised final authority over all pricing decisions of ready-



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mix concretes, additives and related charges that were stated on price sheets, stated in bids, stated

in quotes or otherwise offered to customers or applied to sales by Coastal.

111.     From at least 2010 through at least 2016, based on evidence gathered by Relator,

Defendants Greg Melton, David Melton, Tim Coughlin, and Tim Mahoney engaged in ongoing

and job specific discussions concerning the prices that their respective companies would charge

for ready-mix concrete and reached specific agreements setting such prices in the Savannah and

nearby markets, including those in South Carolina.3 Within weeks of beginning his position in

Savannah, Relator was directed by Greg Melton to let Elite and Greg’s brother David have 75%

of the residential business in Savannah. For example, on February 24, 2011, Relator sent another

email to Pat Mooney complaining that Greg Melton called him because his brother, David Melton

at Elite had “cut his price $9.00 a yard.” It was obvious that Greg Melton and David Melton had

bid rigged so that David Melton at Elite could win this bid. Relator never received a response

from Pat Mooney. As another example, as a result of the price fixing between Greg Melton at

Lafarge/Argos and David Melton at Elite, Relator sent an email to Pat Mooney dated September

15, 2011 with an email subject “I am not selling for Elite anymore.”

112.     Consequently, Terry Varnadore and V.B. construction would be the victims of yet another

facet of Defendants’ anti-competitive and illegal conduct and conspiracies, as Argos intentionally

sold Terry Varnadore and V.B. Construction ready-mix concrete with inappropriate additive and

aggregate content that made the concrete useless for its intended purpose, both structurally and for

safety of the consumer; Argos then told customers that Terry Varnedore had used too much water

in the concrete, blaming the defective concrete on the purchaser.

113.     Defendant Argos intentionally sold Terry Varnadore, V.B. Construction, among others,


3
  Part of the agreement among conspirators was for Greg Melton and Tim Coughlin to communicate to employees
that they could “fire any salesman who cuts a price without obtaining a copy of a competitors quote.”



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defective concrete in furtherance of its conspiracies to squash competition, when V.B.

Construction and other finishers began taking a greater part of the local market share and as they

gained the ability to have bargaining power in the market and potentially purchase from other

suppliers of ready-mix concrete;

114.     In addition to exacting pecuniary harm upon these finishing companies and damaging their

reputation in the construction contracting industry, when they became too large a part of the local

market and, therefore, a threat to their anti-competitive conspiracies in the form of a potential

business partner to a competitor, the defective concrete sold to V.B. Construction was also cheaper

to produce, so Argos also made a greater profit, while blaming any deficiencies in the concrete on

improper use by V.B. Construction and others;

115.     During this time period, these Defendants engaged in discussions and meetings (including

at the Hooters Restaurant in Savannah, the Cracker Barrel in Pooler or Savannah, Georgia, the

Sunshine Restaurant in Savannah, and at one of Argos’ facilities in Blythewood, South Carolina),

Defendants issued their annual price sheets. Defendant Greg Melton told Defendants David

Melton, Trey Cook of Elite, Andy Stankwytch and others the price or price increases that would

be reflected on Lafarge/Argos price sheets and annual pricing and Defendants David Melton and

Tim Mahoney or another Coastal employee agreed that the price sheets and annual pricing would

reflect the same prices or price increases.

116.     That on May 14, 2013, the Relator met with Greg Melton and Jim Pedrick to discuss how

to take over a greater market share from Mayson Concrete in the Savannah Hilton Head market.

During that conversation, Jim Pedrick, Argos Cement, called Jimmy Carson, a salesman for

Holcim Cement, the only “competitor” for Argos Cement in the region, seeking information on

how much cement Holcim was selling to Mayson Concrete. Jimmy Carson returned the phone




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call and gave him information regarding Mayson Concrete and told Jim Pedrick that he will call

him back with more accurate numbers. Throughout the meeting the representatives for Holcim

Cement, Argos Cement, and Argos Ready-Mix exchanged detailed information regarding volumes

and prices regarding Evans Concrete, Elite Concrete, and Mayson Concrete. All of which served

to drive up the price of cement and ready-mix concrete in the market in addition to other anti-

competitive purposes. This information was then given to Andy Stankwytch, Greg Melton’s boss.

117.     That Mayson Concrete was subsumed in whole or in part by Southeastern Readymix

Concrete, LLC, which has continued to be prey to Defendants anti-competitive behavior;

118.     Defendants Greg Melton, David Melton and Tim Mahoney reached agreements concerning

the price sheets, list or base prices, or increases of such prices, to be charged by their respective

companies, including Lafarge/Argos, Elite and Coastal from at least 2010 through at least 2016.

119.     For example, on or about February 2012, Jim Pedrick, cement salesman at Lafarge/Argos

called the Relator and told him that competitor Elite will be putting out a price increase letter in

the next few days. Jim Pedrick told Relator that Greg Melton had instructed him to tell David

Melton at Elite to go to $86.00 per yard with a [sliding] fuel charge. Jim Pedrick asked the Relator

to get a copy of this price increase letter so that he could take it to Coastal because Coastal wanted

a price increase as well.

120.     On March 7, 2012, Defendant Greg Melton told Relator that he had met with his boss,

Andy Stankwytch, Division Regional Manager of the Carolinas and Savannah for Lafarge/Argos,

Trey Cook, Co-owner of Elite and David Melton of Elite met at the Cracker Barrel in Savannah

or Pooler, Georgia and decided that all such Defendants would, on behalf of their respective

companies, effective April 1, 2012, increase their price sheet, list or base prices for ready-mix

concrete to $86.00 per yard. They then all agreed that any salesman who cut a price without first




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seeing a competitor’s quote would be fired.

121.      By way of further example, and to help illustrate the importance of the use of fuel and

environmental surcharges, in recordings Relator submitted to the FBI, dated November 19, 2012,

Jim Pedrick says that Tommy “Bo” Strickland said he was pricing 3000 psi concrete at $88 per

yard plus tax with no environmental fee and that Bo would charge $5 a yard more for a 4000 psi

mix; Jim stated that Bo thought that Argos were quoting 3000 psi concrete at 86 per yard plus fuel

so Bo thought we were even, and Jim told other employees of Argos to adjust our price so we were

even with Evans Concrete on a job; further, in a January 29th, 2013 conversation with Jim Pedrick,

Jim said that he told Bo Strickland that Argos would be pricing at $92 a yard in Statesboro and

that Jim said that Bo will not charge fuel or environmental fees;

122.      Between September and October of 2013, Argos, Evans and other competitors issued price

increase letters of $8.00 more per cubic yard with an environmental fee continuing at $5.00 per

load, with the fuel surcharge schedule remaining in effect for 2014 (anywhere between $7.00 and

$25.00 per load, depending on the price per gallon of diesel fuel), for the Savannah, Macon,

Columbus, and Atlanta Markets; this coincided with price increase letters noting an increase of

$8.00 per cubic yard around the same time from Vulcan Materials and Coastal Concrete.

123.      In the summer of 2012, Relator produced proof to Pat Mooney and Andy Stankwytch that

Elite was quoting a cheaper price to a large residential customer, V.B. Construction, including that

Greg Melton had set LaFarge/Argos’ price much higher so that his brother Greg Melton at Elite

would win the business. Pat Mooney later phoned Relator before the March 2013 Antitrust

Meeting that Relator was “smart enough to figure out what that [March 7, 2013] meeting was

about”.

124.      It was not uncommon for David Melton of Elite to share with his brother Greg Melton at




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Lafarge/Argos the mix designs for bids at a variety of projects including those at Fort Stewart. In

many of these instances, the brothers had agreed which company would win a specific bid and in

fact, shared the mix costs on such bids so that the winning bidder would provide the “low winning

bid.” One such example was a bid dated February 8, 2012 which contained a hand-written note

from Greg Melton directing Argos employee, Ryan Parker to “figure mix cost using our materials

for a bid of Elite’s mix designs for the U.S. Army at Fort Stewart . . .” (Elite bid dated February 8,

2012).

125.     The brothers, Greg Melton and David Melton spoke at least several times per week and

compared customers prices and job bids. In addition, Relator observed brothers Greg Melton and

David Melton even shared proprietary information (non-standard special mix for commercial use

at Fort Stewart in February 2013) and has documentation of the same. Greg Melton and David

Melton had agreed to fix prices to let David Melton and Elite win. Additionally, Argos Cement

refused to authorized rebates if competing with Evans Concrete, but would allow rebates to outbid

non-conspirator competitors. Relator also observed Greg Melton sharing Argos P&L’s and bid

lists including bid prices with brother David Melton.

126.     In addition, when other smaller competitors would not comply with price fixing, members

of the cartel would threaten them that they would sell below cost long enough on any jobs up for

bid by the smaller competitors and ruin them financially. Argos President, Bill Wagner, referred

to this as “dropping the hammer”.

127.     When it became more clear to management at Argos and Elite that Mr. Varnadore and V.B.

Construction took issue with price increases and the manipulation of the market and its

consequential effect on his business’s profitability, he became one of the targets of their bad

concrete scam as previously discussed;




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128.     The salesmen and upper management of Lafarge/Argos have known for years of these

practices. Besides the complaints of Relator to upper management at Lafarge/Argos, on or about

August 23, 2012, Tommy Waters, a salesman at Lafarge/Argos told Relator that in Hilton Head,

South Carolina, he had informed David Howard (Argos’ V.P. of Innovation) of the continued price

fixing between David Melton and Greg Melton in Savannah. Tommy Waters said David Howard

told him that he had informed Andy Stankwytch (Greg Melton’s boss) and that Andy had informed

Greg Melton.

129.     These agreements among the Defendants to coordinate their price fixing and price

increases for ready-mix concrete was knowingly implemented by their respective supervisor and

companies. The price sheets from which all prices were obtained or derived reflected substantial

“parallel pricing” in the actual net price increases.

130.     The sharing of prices and fuel and environmental surcharges among competitors was not

merely part of a local conspiracy in the Savannah market; rather, in the case of Argos, it was a

companywide practice.

131.     In fact, the Relator and employees of Argos in the Savannah/Hilton Head market were

directed to coordinate with Argos’ main office in Alpharetta, Georgia for pricing and fuel and

environmental surcharges, which were then distributed or caused to be distributed to conspirator

competitors throughout Georgia, South Carolina, and North Carolina.

132.     Direct purchasers include various governmental entities such as Fort Stewart, Hunter Army

Airfield, Savannah International Airport, Chatham Area Transit, and a number of schools and other

government projects through Southeast Coastal South Carolina and Georgia including Atlanta

projects such as Truist Park and the new Mercedes Benz Dome. Many of these projects were bid

by Defendant through commercial concrete contractors and other third party contractors and




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subcontractors (such as Choice Concrete Construction, LLC) and were substantially impacted by

this cartel conspiracy between these Defendants on behalf of their respective companies to fix

prices and allocate projects. These purchasers paid substantially more for ready-mix concrete than

they would have in the absence of Defendants’ conspiracies and suffered injury to their business

and property. In fact, on average Fort Stewart jobs were sold for between $10.00 - $12.00 per

yard higher than in nearby Macon as a result of this cartel and conspiracy.

133.     Moreover, government jobs, while requiring less effort (as they were typically bigger and

required trucks “to dump and go,” as opposed to pouring concrete little by little on residential or

smaller jobs, were sold on average around $10.00 per cubic yard higher than residential jobs which

were more time-consuming;

134.     An example of the federal government being overcharged for ready-mix concrete due to

Defendants conspiracies occurred in early 2013, with a job contracted by Sepi Engineering to build

a dog kennel facility at Fort Stewart, wherein only conspirators bid on the project, and as a result,

the government was fraudulently charged by one of the conspirators more than what would

typically be charged in a free market exchange, in addition to fraudulent fuel and environmental

surcharges.

135.     In an example of Defendants’ far reaching, interstate conspiracy affecting government and

taxpayer funded projects, on or about September 2013, Argos’ fraud reached the literal bridge

between South Carolina and Georgia, touching both states, as Argos submitted, and/or caused to

be submitted, fraudulent requests for payment for concrete poured and work performed on the back

water bridge on Highway 17 on the state line, among other projects.

136.     Other government and taxpayer funded projects which were bid on by Defendants

and which Argos or their conspirators above named fraudulently charged the government




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for, by means of their bid-rigging, conspiratory price fixing/increases, and fraudulent fuel

and environmental surcharges include, but are not limited to:

         a.     204 Interchange Improvements, completed on or about 2/1/2016 (9552 yards)

         b.     US 80 SR Bridge, completed on or about 6/1/2015 (5,550 yards)

         c.     UAV (Fort Stewart), completed on or about 12/1/2014 (5500 yards)

         d.    Digital Multipurpose Warehouse (Fort Stewart), completed on or about

               12/1/2014 (5500 yards)

         e.    Ga DOT – Jimmy Deloach Phase II (Bridges), completed on or about

               12/31/2014 (5770 yards)

         f.    Sterling Creek Wastewater Treatment Plant, completed on or about 3/1/2015

               (6000 yards)

         g.    Interstate 16/SR 404 Concrete Rehabilitation, completed on or about

               12/31/2015 (4115 yards)

         h.    Guyton Wastewater Treatment Plant, bid on 12/16/2013, believed to be still

               pending.

         i.    Truman Parkway, Phase 5, completed on or around 12/31/13.

         j.     Landing Pads at the Marine Air Station in Beaufort, South Carolina in 2012

         k.    Marine Corps Air Maintenance Hangar, in Beaufort South Carolina in 2012

         l.    Paris Island Sub Station, in Paris Island, SC in 2012



137.     Defendants and co-owners Tommy Strickland and his nephew Timothy “Bo” Strickland

exercised full and final authority over all pricing decisions for ready-mix concrete sold by

Defendant Evans. Defendants Tommy Strickland and Bo Strickland exercised final authority for




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prices of ready-mix concrete, additives, and related charges that were stated on price sheets, stated

on bids, stated in quotes or otherwise offered to customers or applied to sales by Evans.

138.     Defendants Greg Melton, Tommy Strickland, and Bo Strickland engaged in ongoing

discussions concerning the need to control the market of which their companies were the only

significant players and to keep prices up and what their respective companies would charge for

ready-mix concrete; they also reached specific agreements setting such prices or price increases

and choosing and dividing up jobs from their largest customer, Georgia Southern University which

is a division of the University System of Georgia, a subdivision of the State of Georgia, receiving

Federal funding. Defendants, individually and through other Lafarge/Argos employees, including

management, engaged in ongoing discussion concerning the prices to be offered by their respective

companies for certain bids, and reached agreements concerning which company should submit the

anticipated winning bid and the prices their respective companies would offer in such bids. Relator

learned of these activities once he assumed sales responsibilities in Statesboro in 2012 and learned

of this existing price fixing arrangement.

139.     Greg Melton utilized the Statesboro Scorecard, a copy of which was provided to the

Government by the relator, to make sure that they were dividing the market properly.

140.     As a result of these illegal price fixing activities, Defendants Greg Melton Tommy

Strickland and Bo Strickland drove the price of ready-mix concrete approximately $10.00 a yard

higher for jobs at Georgia Southern University and other customers than the price that

Lafarge/Argos was receiving for the same project in Savannah.

141. For example, in February 2013, Relator was directed by Greg Melton, who called himself,

“the prick with the stick,” not to bid any project in Statesboro below $90.00 (per 3000 psi) per

yard when Evans was involved. Melton further explained that he had things worked out there.




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142. On November 8, 2012, Greg Melton informed the relator that their boss, Andy Stankwytch

had instructed them to draft a price increase letter to match Elite who was going up on January 1,

2013. On that same date, Greg Melton then stated that they will go to $85 per yard on a large

Statesboro job known as Aspen Heights as his scorecard shows that this should be their job because

Evans has had more work their lately. The excuse for that bid, if asked by Evans, was going be

that the customer was their loyal customer from Atlanta. Greg then printed out the scorecard to

review it with Andy Stankwytch. Jim Pedrick agreed that they could talk their way out of winning

that job if confronted about undercutting Evans. Jim Pedrick also agreed to compare Argos

Cement’s sales to Evans to make sure that Evans was honoring the scorecard agreement.

143. Also on November 8, 2012, Jim Pedrick of Argos Cement informed relator that David Melton

is demanding that Argos get their price increase letter out by the end of the week as they are all

going to $88 per yard.

144. On November 1, 2012, Jim Pedrick confirmed that Argos and its conspirators had all agreed

on a price increase of $8 per yard.

145.     In connection with the Georgia Southern University Sports Facility bid rigging, Relator

learned from an employee of Lafarge/Argos that Greg Melton and Bo Strickland had agreed to

move the price for ready-mix concrete from $90.00 to $92.00 per yard.

146.     On or about January 29, 2013, at a meeting in Greg Melton’s office in Pooler, Georgia,

Greg Melton met the Relator and Tommy Waters, a Lafarge/Argos salesman for Statesboro, Hilton

Head, and Savannah. At this meeting Greg Melton produced a list entitled “Statesboro Projects

starting in 2012” with his handwritten notes (attached in Relator’s exhibits) showing which jobs it

was agreed would be Argos or Evans.

147.     On June 15, 2012, Relator was present when Greg Melton was telling another salesman




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that he and Bo Strickland had agreed to split up upcoming jobs in Statesboro. Greg Melton told

Tommy Waters to quote $89.00 on the Georgia Southern University Dining Facility job and that

Evans will quote $91.00.

148.     Defendant Greg Melton highlighted the projects that Defendants Greg Melton and Bo

Strickland had agreed would be Argos projects and agreed who would win current projects up for

bid. For example, the list, referred to as the “Statesboro scorecard,” which is attached in Relator’s

exhibits, gave the Georgia Southern University Biology Building, Georgia Southern University

Recreational Facility, Douglas Monarchs Apartment Complex and Georgia Southern University

Dining Facility to Evans. Notably, the “Statesboro scorecard” attached in Relator’s exhibits

contains Greg Melton’s handwritten notes. Greg Melton instructed Argos cement salesman Jim

Pedrick to “tell BO Strickland that on small stuff we are going to $92.00.”

149.     Customers who received annual price quotes or contracts from Defendants Lafarge/Argos

and Evans were offered prices that were derived from an agreed upon starting point, or reflected

agreed increases, as a result of the conspiracy. Because Defendants Lafarge/Argos and Evans

share very high or complete levels of market concentration and market power for the supply of

ready-mix concrete in the Statesboro, Georgia area, customers like Georgia Southern University

who received price quotes would not be able to seek a competitive price from another supplier.

Moreover, Defendants would not allow Relator or any other salesperson or agent of Argos to use

rebates against Evans Concrete, but would allow it to outbid non-conspirator competitors.

150. Through the targeted use of rebates, Argos Ready Mix and its conspirator competitors

enjoyed an approximately $7 per yard advantage over non-conspirators.

151. On or about September of 2015, the conspirators began discussions on the 2016 price increase

for readymix concrete. On September 30, 2015, Argos and, shortly thereafter, Thomas both issued




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a $12 per yard price increase.

152.     In addition to the coordination of price increases, the Defendants also allocated territory to

give greater profits to each. On February 2, 2016, Greg Melton informed the relator that he had

agreed to give Thomas Concrete the Savannah Harbor Expansion Project (SHEP) as long as he

gets the rebate approved from Argos Cement on other jobs that he had selected.            SHEP is an

approximately $900 million project managed by the Army Corps of Engineers to deepen the Port

of Savannah. The funding for the project consists of 75% direct federal funding and a 25%

contribution by the Georgia Ports Authority and Georgia Department of Transportation. The

majority of the phases of these projects began in February of 2016 and were completed in 2018 or

beyond.

153.     On May 12, 2016, Greg Melton met with his sales team to go over the “Get Busy Report”

which is sent to Mike Taylor each week. This report is a list of all jobs bidding in late 2015 and

2016, including government and federally funded jobs. The report contains, among other things,

a list of all jobs which were won with cement credits. While reviewing the report with the team,

Greg Melton informs the group that Argos Cement will not approve rebates for jobs that Evans

Concrete is also bidding on.

154.     Defendants Greg Melton, Tommy Strickland and Bo Strickland enforced the customer and

price agreements between their respective companies through bid rigging. Defendants Greg

Melton and Bo Strickland individually and through Lafarge/Argos employees engaged in regular

and ongoing discussions with one another concerning bids for specific projects. During these bid

rigging discussions, Defendants Greg Melton, Tommy Strickland, and Bo Strickland agreed which

of their respective companies would submit the anticipated successful bid and at what price or

prices, and the price or prices that would be bid by the anticipating losing party.




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155.     By rigging bids, Defendants Greg Melton, Timothy Bo Strickland, and Tommy Strickland

could enforce their existing agreements regarding prices and territories, collectively meeting their

shared goals of keeping prices up for larger projects and allocating projects among themselves,

particularly with Georgia Southern University, among others. Bid rigging allows parties to a price

fixing or territorial agreement to deter cheating on the agreement on particularly lucrative projects

that otherwise reward cheating.

156.     According to key employees of Lafarge/Argos, these price fixing arrangements between

Defendants Lafarge/Argos, Greg Melton and Evans and Tommy and Bo Strickland have “gone on

for years.” Even if Lafarge/Argos loses a bid it still wins because Evans buys its cement from

Larfarge/Argos. Cement composes approximately 35% of the total price of a typical order.

157.     At a meeting held in Defendant Lafarge/Argos’ Louisville location on February 12, 2012,

Greg Melton asked salesman Tommy Waters and Relator to list jobs in Statesboro that

Lafarge/Argos recently lost to Evans and to list jobs coming up. Greg Melton said that “he had

talked with Bo Strickland and they had an agreement that we would get the next few jobs since Bo

Strickland had been awarded the Biology Building at Georgia Southern University.

158.     Approximately 5 days later, Ryan Parker, Lafarge/Argos’ quality and assurance manager

for Savannah and Hilton Head during a car ride described to Relator how Harry Miskelly of

Lafarge/Argos and Lafarge/Argos price fixed the Georgia Southern Biology Building. Ryan

Parker also related another conversation that he had several months earlier where Harry Miskelly

told Ryan Parker that “there was an agreement in place and that we better not take the job, that we

better let Evans have the job.”

159.     Relator learned from other Lafarge/Argos employees that Defendant Greg Melton and Bo

Strickland agreed to split supplying the concrete to the new Georgia Southern University Sports




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Stadium.

160.     Direct purchase of ready-mix concrete from the Savannah and Statesboro areas were

substantially impacted by the cartel and conspiracy between Defendants to fix prices, divide jobs,

and their enforcement of agreements to fix prices and divide jobs, through bid rigging. These

purchasers included various governmental entities that paid substantially more for ready-mix

concrete than they would have in the absence of the conspiracy and suffered antitrust injury to

their business or property.

                                              IX.

               ILLEGAL REBATES TO CONTRACTORS FOR READY-MIX
                   CONCRETE AND OTHER GOODS AND SERVICES

161.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein

162.     Relator is aware that Defendants Lafarge/Argos have and continue to pay contractors and

builders an undisclosed “rebate” or “incentive fee” which illegally inflate the prices of ready-mix

concrete by upwards of 6 – 10% in South Carolina and Georgia.

163.     Relator believes that this rebate practice in the residential, commercial, and government

markets continues by Defendant Lafarge/Argos and others in all of its markets throughout the

Southeast.

164.     Relator believes that Elite and other competitors are also paying such rebates in Savannah

and other markets.

165.     In the course of Relator’s investigation Relator has obtained additional evidence that

customers of Defendant Argos, including Brasfield & Gorrie, LLC (where Pat Mooney, former

President of Argos Southeast, is now employed), also illegally accepted and retained discounts,

rebates, and kickbacks by Defendant Argos and other subcontractors for government contracts



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(such as Ram Tool Construction Supply Co., based in Birmingham, Alabama) with the State of

Georgia, local governments in Georgia and the federal government and its instrumentalities or

others. Based on conversations with Argos employees, Relator does not believe that these

discounts, rebates, or kickbacks were passed along to the state or federal government or their

instrumentalities. Relator has obtained a “Rebate Agreement” used from time to time by Argos to

memorialize certain of these payments and is attached in Relator’s exhibits.

166.     On or about June 5, 2013, Defendant Greg Melton told Relator that in connection with the

job at Georgia Southern University that Defendant Brasfield & Gorrie needed a price break on the

job and that “a price break will be handled back door.” He also continued by adding that Defendant

Pat Mooney was handling the rebate on the “the back end.” Defendant Greg Melton stated that he

[Pat Mooney] may “know something about the backdoor dealings.” Relator has obtained a

purchase order for this Argos/Brasfield & Gorrie job for Georgia Southern University which

clearly states that Argos gives Brasfield & Gorrie a standard rebate/kickback. On page 2 of the

purchase order it clearly states “[T]he pricing below is Argos standard pricing and does not reflect

the $5 discount/rebate . . . on all orders for Brasfield & Gorrie.”

167.     Relator learned that Pat Mooney and Jim Lambert at Argos in Atlanta were among the key

Argos personnel authorizing and distributing these illegal discounts, rebates, and kickbacks.

168.     Many of the contracts awarded to Defendant Brasfield & Gorrie by the Georgia State

Financing Investment Commission on behalf of Georgia Southern University and the University

of Georgia contain a requirement to refund discounts, rebates, and kickbacks. Section 4.4.10 of

the Construction Management Agreement dated September 1, 2011 for the Georgia Southern

Biology Building required Brasfield & Gorrie to refund discounts, rebates and kickbacks.

          4.4.10 Discounts, Rebates, Etc. The CM/GC shall provide the Owner an
          opportunity to provide funds to take advantage of discounts for prompt payment



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          of materials supplies, equipment, etc. Any trade or quantity discounts, rebates,
          refunds, and/or proceeds from the sale of surplus materials or equipments shall
          be credited to reduce the Cost of the Work.


169.     By further way of example the Construction Management Agreement by the Board of

Regents of the University System of Georgia dated March 1, 2006 for the University of Georgia

Performing Arts and Visual Complex Building (cost over $31,000,000.00) required Brasfield &

Gorrie to refund discounts, rebates, and kickbacks.

          1.5.1.0 Discounts, Rebates, Etc. The CM/GC shall provide the Owner an
          opportunity to provide funds to take advantage of discounts for prompt payment
          of materials supplies, equipment, etc. If the Owner chooses to take advantage of
          such discounts, the savings shall accrue to the Owner and shall have no impact
          on the Cost of the Work. If the Owner chooses not to take advantage of such
          discounts and the CM/GC decides to do so with the funds of the CM/GC, the
          savings shall accrue to the CM/GC and shall have no impact on the Cost of the
          Work. Any trade or quantity discounts, rebates, refunds, and/or proceeds from
          the sale of surplus materials or equipment shall be credited to reduce the Cost
          of the Work.

170.     The aforementioned contract language appears in a variety of versions of the contracts used

by the Georgia State Investment and Finance Commission, the Board of Regents of the University

System of Georgia and other state related entities and instrumentalities.

171.     Based on Brasfield & Gorrie’s website alone, it has many other contracts throughout the

Southeastern United States including offices in Georgia, South Carolina (Greenville), North

Carolina, and Florida.

172.     In solicitations for contracts at various military installations, including Hunter Army

Airfield by further way of example only, the solicitations and/or contracts contain anti-kickback

procedures under the Federal Acquisition Rules (“FAR”) Clause 52.203-7, and are incorporated

by reference into the contracts and/or solicitations. Various provisions of FAR, such as FAR

52.203-7 Anti-Kickback Procedures, are incorporated by reference into many federal government




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contracts. These provisions apply to not only prime contractors but also to subcontractors and

others.

173.      Lafarge/Argos violated the Anti-Kickback Statute 42.U.S.C. § 1320-7b(b) in its knowing

and willful payment of remuneration for generating business through government contracts and

failing to pass on any rebates to governmental entities involved in its contracts for jobs with

Brasfield & Gorrie and Evans General Construction, LLC.


                                                X.

                       LAFARGE/ARGOS UNLAWFUL RETALIATION

174.      Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein

175.      Relator believes that as a result of his complaints to Pat Mooney about price fixing and the

complaints by other Lafarge/Argos employees that Defendant Lafarge/Argos commenced annual

“Antitrust Training” sessions with lawyers from McGuire Woods as the speakers. Despite these

known antitrust conspiracies, sessions were held only in late 2011 and on March 14, 2013. In

attendance at these meetings were approximately 30 Lafarge/Argos employees including, among

others, Greg Melton, Relator, Hugh Papy, Jr., and Tommy Waters. These events are just “window

dressing and a dog and pony show.”

176.      In an effort to protect his cartel and prevent further reporting of wrongdoing by his

employees, Greg Melton intimidated, harassed and threatened his employees before and after these

meetings to prevent further disclosure of his illegal price fixing. At one of these meetings, Greg

Melton texted Relator during the antitrust meeting and told Relator to tell Salesman Hugh Papy,

Jr., who had asked a series of questions, to “Shut the f_ck up.” Once he started asking questions

during the training, Relator and other Lafarge/Argos employees, were scared for their lives and



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livelihood. To intimidate and harass Relator and to show his complete lack of concern for violating

the law, at the late 2011 meeting, Greg Melton texted Relator that Relator “would look good in

prison stripes.” Greg Melton knew that his high school friend and boss, Pat Mooney would cover

up his illegal activities. Greg Melton was ultimately appointed by Argos counsel, as head of Anti-

Trust for the Savannah Division.

177.     Immediately after this antitrust meeting, David Black, Pat Mooney’s right hand man,

approached Hugh Papy, Jr., and told him to “Shut up and keep doing what you are doing” and

“Don’t rock the boat.” Mr. Papy was visibly upset because he was participating in training and

asking valid questions about preferred pricing to customers and seeking advice.

178.     Greg Melton continued to publicly belittle and harass Relator because of Relator’s previous

reporting of antitrust activities to Pat Mooney, and Relator’s reluctance to illegally give business

to Greg Melton’s brother David Melton at Elite.

179.     This harassment plus the loss of business to Lafarge/Argos because jobs were given by

agreement to competitors caused Relator and other salesmen to lose bonus revenue. During his

employment with Argos, Relator was reminded on more than one occasion by Argos that he is

subject to a non-compete agreement and could not work for a competitor. Relator was also denied

promotions and other career advancements. Relator suffered anxiety and depression due to Argos’

treatment of Relator after his reporting the illegal activity to Pat Mooney.

180.     On May 25, 2012, Hugh Papy emailed the relator and Greg Melton regarding the Fuji Tank

job with Mahany stating that “this job bid today. We were at $89 for 4000 psi. Elite was at $80.

Glad they’re on board with the price increase.” At 12:59 PM, Greg Melton responded by email

instructing the relator to “Call David and tell him how much he left sitting in the table.” On May

31, 2012, Greg Melton explained to the relator that he had decided to let Elite have the Fuji Tank




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job and others with Mahany as Argos Cement had agreed to let him use rebates on a number of

other bids since Elite was not going after those projects.

181.     On April 11, 2013, Relator learned that Greg Melton was frantically shredding documents

in his office, seeking to destroy evidence of the cartel conspiracy. It is not known at present who

or what has triggered this cover-up or whether Greg Melton was instructed by Pat Mooney or

others at Lafarge/Argos to destroy documents to cover-up the cartel conspiracies. Relator has

salvaged many of these destroyed documents. Relator later learned that Argos appointed Greg

Melton head of anti-trust issues for the Savannah market.

182.     In late 2011, Relator met with the Federal Bureau of Investigation (FBI) and the Atlanta

Antitrust Field Office of the U.S. Department of Justice (DOJ) in late 2011 regarding activities

related to price fixing and conspiracies and he continued to communicate with them and provide

evidence regarding the activities through December of 2020;

183.     Relator provided documentary and other evidence of collusion in the form of price fixing,

bid rigging and territorial allocation by Argos and other co-conspirators; this included a trip to

Washington, DC on December 2, 2019, to review the materials and provide a copy of the

Statesboro Scorecard with Greg Melton’s handwriting on it;

184.     Based upon information and evidence that the Plaintiff provided to the government, and

his attorney, he became the Relator in a qui tam complaint filed in 2013.

185.     While the qui tam complaint was still under seal, the Plaintiff was repeatedly confronted

and questioned as to whether he was the whistleblower.

186.     That the Defendant Argos gained access to the qui tam complaint prior to it being unsealed

which confirmed the identity of the Plaintiff as the whistleblower.

187.     Greg Melton and other members of Argos management threatened, intimidated, and




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harassed Plaintiff, and other employees, of Argos to prevent disclosure of illegal price fixing and

other illegal schemes, including the sale of sub-standard concrete, throughout Plaintiff’s

employment with Argos.

188.     Harassment by Greg Melton, Pat Mooney, and others at Argos, plus the loss of business to

Argos due to Greg Melton’s illegal bid-rigging, by which he would ensure that his brother’s

company, Elite Concrete, LLC, would win bids, caused the Plaintiff to lose bonus revenue and

other compensation, and fear that he would be black-listed from the cement/concrete industry;

189.     While that qui tam action was voluntarily dismissed without prejudice by his attorney, on

July 7, 2016, Plaintiff was illegally terminated by Defendant and in retaliation for informing the

government about Defendant’s illegal activities and for bringing an action against the Defendant

under the False Claims Act;

190.     Argos had a three write-up policy prior to termination of an employee, and in 19 years of

employment with Lafarge/Argos, he had never been written up by his employer. Two days before

he was fired, Relator sent company counsel an email describing more corruption/concerns and

expressed that he did not want to be retaliated against.

191.     Plaintiff suffered pecuniary and other harm as a result of his harassment, discrimination,

and retaliatory discharge by Defendant;

192.     In addition to the harassment, discrimination, and retaliatory discharge suffered by Plaintiff

at the hands of the Defendant, Defendant also retaliated against Plaintiff in initiating a civil action

against him which alleged that he engaged in stealing trade secrets in violation of the Defend Trade

Secrets Act (18 U.S.C. § 1836), the Georgia Trade Secrets Act (Ga. Code Ann. § 10-1-760 et seq),

and that he also engaged in computer fraud, conspiracy, and conversion, among other allegations;

See Argos USA, LLC v. Christopher Young and Southeast Ready Mix, LLC Case No.: 1:18-cv-




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02797-ELR, United States District Court, Northern District of Georgia, Atlanta Division;

193.     The Defendant’s allegations in that action were blatantly false, which they have recently

stipulated to in the DPA, Defendants knew their allegations to be false, and Defendants made these

false allegations for the sole purpose of retaliating against Plaintiff for pursuing his qui tam action;

194.     Defendants retaliatory actions against Plaintiff were in violation of federal law and the

public policy and laws of the State of South Carolina;

195.     Plaintiff has suffered pecuniary and other harm as a result of this lawsuit;

                                               XI.

                    DEFENDANTS’ FALSE CLAIMS ACT VIOLATIONS

196.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein



197.     In order to receive payment from the United States Government, South Carolina, Georgia,

and other governments for services, Defendants intentionally or knowingly made, prepared or

caused to be made or prepared false statements and false claims for payment or approval, based

upon the records and rules described above, and intentionally or knowingly presented or caused

them to be presented to an officer or employee of the United States Government, the States of

Georgia and South Carolina, and local governments in order to obtain approval and payment form

the Government.

198.     Defendants’ records and claims for payment were false or fraudulent because, individually

and collectively, Defendants falsely and improperly did not disclose to the United States

Government, the State of South Carolina, the State of Georgia, and local governments common

arrangements to discuss and affect prices under contracts awarded by these governmental entities.




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199.     Defendants’ records and claims for payment were false or fraudulent because Defendants

falsely represented, directly or indirectly, in submitting claims for payments that they had not

engaged in common discussions or agreements regarding prices to be offered and terms and

conditions of services, such as allocation of territories or market share among one or more

Defendants for work performed under the U.S. Government or other state or local governments.

200.     Defendants’ actions to repeatedly mischarge, intentionally or knowingly, on their contract

and subcontract agreements violated the terms of contracts between one or more Defendants and

the U.S. Government and other state and local governments, including certifications that pricing

proposals to the Government were arrived at independently of one another.

201.     Defendants’ obligations to comply with the terms of the prime Government contract is a

requirement that may not be waived by any Government employee other than in limited and

appropriate circumstances, by contracting officers, and if done in writing and otherwise pursuant

to applicable law.

202.     Defendants intentionally, knowingly, and/or recklessly failed to make the necessary

inquiry to establish that claims submitted to the U.S. Government and other governments and

political subdivisions were not false or fraudulent under the False Claims Act.

203.     In seeking payment from the U.S. Government, among other governments and political

subdivisions, Defendants falsely certified that the payments requested were in accordance with

contract terms and rules when in fact they were not.

204.     The requests for payment submitted by Defendants pursuant to Government contract were

false claims.

205.     Relator, the general public, the United States, South Carolina, Georgia, and local

governments and political subdivisions were harmed by Defendants’ actions.




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206.     This action is not based upon any prior public disclosures, as that term is defined in the

False Claims Act, nor have any prior public disclosure of the allegations or transactions alleged in

this action occurred, except those initiated or made by Relator.

207.     Relator is knowledgeable about Defendants’ operations and has direct and independent

knowledge of the information on which these allegations are based and is an original source as

defined in 31 U.S.C. § 3730(e)(4)(B). Relator has voluntarily provided this information to the

United States Government prior to filing suit, including by voluntarily providing extensive and

detailed information to the U.S. Department of Justice in Atlanta, Georgia and the FBI.

                                              XII.

            ARGOS DEFENDANTS’ FALSE CLAIMS AND FRAUDULENT
       MISREPRESENTATIONS IN ENTERING THE DEFERRED PROSECUTION
                     AGREEMENT OF JANUARY 4, 2021

208.     Plaintiff reiterates and incorporates all of the above allegations as set forth above as if

repeated verbatim herein

209.     On or about September 2, 2020, after Relator’s Complaint had been filed, Defendants

Evans Concrete, James Clayton Pedick, Gregory Hall Melton, and Timothy Tommy “Bo”

Strickland, along with, at that time unnamed Defendant corporations, were indicted for violations

of Sherman Act, for the conspiracies to suppress and eliminate competition by fixing prices,

rigging bids, and allocating markets for sales of ready-mix concrete, as detailed and discussed

above;

210.     The indictment came after years of Relator reporting Defendants’ criminal conduct to

Argos Presidents, Regional Manager, H.R., and Argos in-house and outside counsel and Federal

authorities during his employment with Argos, from 2010 to 2016;

211.     The violations of the Sherman Act as indicted cover conduct and conspiracies to suppress




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and eliminate competition from “as early as 2010 and continued until or about July 2016;”

212.     Relator is the original source of Defendants’ underlying false and fraudulent presentment

claims as discussed at length above;

213.     Incidentally, Relator was terminated in July 2016, the same month and year of the end of

Defendants’ conspiracies and criminal acts as alleged in the indictment;

214.     On or about January 4, 2021, Defendant Argos USA, LLC entered into a deferred

prosecution agreement with the United States whereby it “admits, accepts, and acknowledges that,

under U.S. federal law, it is responsible for the acts of its officers, directors, employees, and agents

that give rise to the charges in the Information. The Company admits, accepts, and acknowledges

that the facts set forth in the Statement of Facts are true and accurate.”

215.     The parties to the agreement are Argos USA, LLC, and the company’s direct and indirect

parents, Argos North America Corp. and Cementos Argos S.A.

216.     Among the facts that Defendant Argos USA, LLC admit are true and accurate are as

follows:

         a.      the company was involved in fixing prices, rigging bids, and allocating markets

for the sale of ready-mix concrete by the Company and its conspirators in the greater Savannah,

Georgia area (including Statesboro, Georgia, and Hilton Head Island, South Carolina), resulting

in a per se unlawful violation of the Sherman Act, 15 U.S.C. § 1;

         b.     the illegal conduct was limited to a small number of employees who joined the

Company through an asset acquisition of another company in October 2011, after the conspiracy

had already begun. These employees worked in a local sales office in Pooler, Georgia, which

office was responsible for approximately 1% of the Company’s annual revenues and employed




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less than 1% of the Company’s workforce. The Company’s management outside the office in

Pooler, Georgia, did not participate in or condone the conduct;

         c.      on September 22, 2020, a grand jury indicted, and the United States in prosecuting,

two former Company employees, Gregory Hall Melton and James Clayton Pedrick, in United

States v. Evans Concrete, LLC, et al., No. 4:20-cr-00081 (S.D. Ga.). These two individuals were

the employees primarily responsible for the Company’s participation in the charged conspiracy;

         d.      the Company has enhanced and has committed to continuing to enhance its

compliance program and internal controls, including by ensuring that its compliance program and

internal controls, including by ensuring that its compliance program satisfies the minimum

elements set forth in Attachment C to this Agreement;

         e.      the Company has taken remedial actions to address the misconduct that is subject

of this investigation, including revising and enhancing its antitrust compliance program to directly

address the issues, conducting specific antitrust training for Savannah-area employees, and

terminating the employees primarily responsible for the Company’s participation in the illegal

conduct;

217.     As part of the agreement, Argos USA, LLC and its parent entities agree that full, truthful,

and continuing cooperation pursuant to the agreement included but are not limited to the following:

         a.      producing to the United States all documents, information, and other materials,

wherever located, not protected under the attorney-client privilege or the work-porduct doctrine

         b.      using its best efforts to secure the full, truthful, and continuing cooperation of

current and former officers, directors, employees and agents of the Company and the Parent

Entities as may be requested by the United States in its sole discretion. Such efforts will include,

but not be limited to, making these persons available in the United States and at other mutually




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agreed-upon locations at the Company’s or the Parent Entities’ expense for interviews and the

provision of testimony in grand jury, trial, and other judicial proceedings in connection with the

Federal Proceeding; and

         c.     with respect to any information, testimony, documents, records or other tangible

evidence provided to the United States pursuant to this Agreement, the Company and the Parent

Entities consent to any and all disclosures to other governmental authorities, including federal,

state, and local authorities and those of a foreign government of such materials as the United States

in its sole discretion shall deem appropriate.

218.     As part of the Deferred Prosecution Agreement, the United States and the Company agreed

that the Company will pay a monetary penalty in the amount of $20,024,015.00 to the United

States Treasury within thirty (30) days of the Effective Date of this Agreement. The Company

and the United States agree that this penalty is appropriate given the facts and circumstances of

this case, including the Relevant Considerations described in Paragraph 5. The monetary penalty

is calculated under the United States Sentencing Guidelines, based on the volume of commerce of

at least $83,433,397 done by the Company;

219.     The Deferred Prosecution Agreement was signed and executed by William Wagner,

President of Argos USA, LLC, and Howard Feller, Counsel for Argos USA, LLC.

220.     In an attached certificate, the Company’s General Counsel, Mark Prybylski, together with

Howard Feller, certified that William Wagner is authorized, empowered and directed to execute

the deferred prosecution agreement;

221.     Although Defendant Argos certified through its agents that the information contained in

the deferred prosecution agreement was true and accurate, Defendant and their agents knowingly,

intentionally misled and gave false information to the U.S. Government in making the agreement;




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222.      Defendant Argos USA, LLC falsely certified the full extent of the conspiracies and illegal

activities engaged in by Defendant and its agents, the extent of the market affected by their

conspiracies, and the extent of the knowledge of these conspiracies and illegal activities by agents

of Defendant Argos USA, LLC;

223.      The extent of the market affected and volume of commerce done by Defendant Argos USA,

LLC, was actually much larger than the $83,433,39.00 reported by the Defendant, as market

affected involved more than just Savannah, Pooler, and Hilton Head Island areas of Georgia and

South Carolina, referred to above as the Savannah market; Additionally, the purported volume of

commerce excluded the increase in earnings by Argos Cement as a result of these anti-competitive

acts.

224.      Rather, the anti-competitive practices and conspiracies of the Argos Defendants was

pervasive throughout the company and its operations throughout the entire Southeast, and

permeated the company’s culture;

225.      As discussed above and as noted in the Blue Circle Memorandum, William Wagner, a

signatory of the Deferred Prosecution Agreement was a major proponent of the same or similar

anti-competitive activities discussed in that Memorandum during his tenure as President of Argos

USA, LLC, as he was when he was President of Blue Circle;

226.      Rather than the discovered illegal activity in the Savannah Market being a “one-off” or

simply errant misbehavior on the part of lower to middle management of the Argos Defendants,

the anti-competitive and illegal activity in violation of the Sherman Act was engrained in the

companies’ cultures and was encouraged from the top;

227.      William Wagner, who assumed his role as President of Argos USA, LLC in 2014, was

informed by the Relator of the David Melton and Gregory Melton’s price fixing during the




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Summer of 2014;

228.     On or about January of 2014, Pat Mooney called Relator and informed him that he and Bill

Wagner had discussed the Melton brothers’ price-fixing and that Greg Melton needed to be

replaced.

229.     To further illustrate William Wagner’s knowledge and complicity in the Argos Defendants’

anti-competitive practices and conspiracies throughout the Southeast, during a conversation on

February 29, 2016, which was recorded by the Relator and provided to the government, William

Wagner stated in a conversation with the salespersons including Relator that they should tell all of

their competitors the ultimatum that if they did not raise prices in the Savannah market, that he

was going to “drop the hammer” on them like he did years ago, during his time as President of

Blue Circle;

230.     By “drop the hammer,” William Wagner was referring to the manner in which he, in

previous years, had directed the companies that he had served in a leadership role, to offer and

sustain lower than profitable ready-mix concrete prices to hurt the business of smaller and less

financially robust cement and ready-mix concrete companies, and ultimately eliminate them as

competition in the market inhabited by Argos Defendants, unless they agreed to conspire with the

Argos Defendants to artificially fix prices;

231.     Additionally, many other members of the upper leadership and management within Argos

Cement and Argos USA, LLC, knew about the illegal activities and conspiracies in violation of

the Sherman Act including but not limited to:

         a.     Chip Hussey (Vice President of Cement Sales) – Chip approved cement rebates and

repeatedly told salespeople not to use them against Evans Concrete, a co-conspirator in the

Savannah market;




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         b.     Mike Taylor (former Vice President of Argos Ready-Mix) stated several times

throughout Relator’s employment with Argos USA, LLC, that he had to get permission to use

rebates against certain competitors, and Mike Taylor told Relator that Chip told him we could only

use cement rebates to hurt competitors who did not buy cement from Argos Defendants;

         c.     Mark Prybylski, Argos in-house Counsel and signatory of the Deferred Prosecution

Agreement, and Howard Feller, outside counsel and signatory of the Deferred Prosecution

Agreement were made aware of the price fixing by Relator and Hugh Papy, Jr., among others for

several years preceding federal investigations and Relator’s termination in July 2016; In fact, on

January 4, 2014, the relator met with Howard Feller and explained to him, not only specific

instances of price-fixing but also explained when and how he had reported it to Mark Prybylski

and Pat Mooney as early as March of 2010. The relator also personally delivered a copy of the

Statesboro Scorecard to Howard Feller at this meeting.

         d.     As discussed above, Pat Mooney, former President of Argos USA, LLC, and

predecessor to William Wagner, was made aware of the price fixing as early as 2010 until he left

the company in 2014, and in late 2011. In response to an email from Relator concerning price

fixing and bid rigging by the Melton brothers, Pat Mooney told Relator never to send him “that

sh_t again” and that because of Relator, he would have to let the company attorney (Mark

Prybylski) know about the price fixing;

232.     As discussed above, in addition to anti-competitive behavior permeating the company

culture, price increases on cement and ready-mix were coordinated and standardized throughout

all of Argos’ Defendants locations in the Southeastern United States and were shared with

conspirator competitors throughout the Southeast in substantially the same or similar manner in

which they were shared in the Savannah market.




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233.     The true extent of Argos Defendants’ volume of business which was tainted by their

criminal activities and conspiracies, is well into the hundreds of millions of dollars;

234.     In misrepresenting the full extent of the volume of business tainted by their criminal

activities and conspiracies, Argos Defendants further defrauded the government in violation of the

False Claims Act;


                                              COUNTS

                                              COUNT I

                            VIOLATION OF 31 U.S.C. § 3729(a)(1)
                              (AGAINST ALL DEFENDANTS)

235.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

236.     Defendants knowingly presented or caused to be presented to officers or employees of the

United States Government and/or members of the Armed Forces of the United States false or

fraudulent claims for payment or approval. Defendants’ claims were false claims under the False

Claims Act because:

237.     Defendants discussed means of bid-rigging, commonly setting prices, allocating markets

and fixing other terms for cement and Ready-Mix Concrete provided to the United States

Government.

         (a).    Defendants discussed means of bid-rigging, commonly setting prices, allocating

markets and fixing other terms for cement and ready-mix concrete provided to the U.S.

Government.




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         (b).   Defendants acted to implement their scheme(s) of bid-rigging, setting prices,

allocating markets and fixing other terms cement and Ready-Mix Concrete provided to the United

States Government.

         (c).   Defendants’ offers to provide cement and Ready-Mix Concrete to the United States

Government were not independently arrived at; and

         (d).   Defendants’ requests for payment under contracts (or subcontracts thereto) cement

and ready-mix concrete to the United States Government were made without disclosure of

common discussions and arrangements to rig bids, set prices, allocate territories and fix other terms

for services to the United States Government.

         (e).   Due to their anti-competitive behavior and conspiracies, the United States

Government and other state and local governmental entities were systematically and fraudulently

overcharged when Defendants and their co-conspirators were the only parties bidding on

government or government-funded jobs to supply ready-mix concrete, and any time they presented

payment for work which included environmental surcharges, which were completely fabricated

and not used to pay for any sort of environmental clean-up or remediation.


                                              COUNT II

                            VIOLATION OF 31 U.S.C. § 3729(a)(2)
                              (AGAINST ALL DEFENDANTS)


238.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

239.     Defendants knowingly made, used, or caused to be made or used a false record or statement

to get a false or fraudulent claim paid or approved by the United States Government.




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                                            COUNT III

                            VIOLATION OF 31 U.S.C. § 3729(a)(3)
                              (AGAINST ALL DEFENDANTS)

240.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

241.     As more fully described above, Defendants conspired to defraud the Government by

getting a false or fraudulent claim allowed or paid. This included the payment of prices by the

United States Government, the States of Georgia and South Carolina and Local Governments that

were inflated as a result of Defendants’ anticompetitive price fixing and bid-rigging schemes.

                                            COUNT IV

                              VIOLATION OF 31 U.S.C. § 3729(g)

242.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below;

243.     As more fully described above, in misrepresenting the full extent and scope of their

criminal activities and conspiracies in violation of the Sherman Act, and the volume of business

affected by their illegal activities and conspiracies to the government in entering the Deferred

Prosecution Agreement, Defendants fraudulently induced the Government into the agreement;

244.     In making these material falsehoods to the Government, Argos Defendants intended to

avoid paying additional money in damages, penalties and/or fines to the government;

245.     The material falsehoods submitted to the Government in making the Deferred Prosecution

Agreement are a violation of the False Claims Act, as Argos Defendants knowingly made, used,

or caused to be made or used, a false record or statement material to an obligation to pay or transmit

money or property to the Government and/or knowingly and improperly avoided or decreased an

obligation to pay or transmit money or property to the Government;



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                                              COUNT V

                           VIOLATION OF 31 U.S.C. § 3730(h)
                       (AGAINST LAFARGE/ARGOS DEFENDANTS)


246.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

247.     At all relevant times, Relator was employed by the Lafarge/Argos Defendants.

248.     The Lafarge/Argos Defendants exercised sufficient control over the terms and conditions

of Relator’s employment and the terms and conditions of employment of those working with

Relator such that the Lafarge/Argos Defendants were at all relevant times an employer within the

meaning of the False Claims Act, 31 U.S.C. §3730(h).

249.     Relator was discriminated against in the terms and conditions of his employment, and was

ultimately terminated, because of lawful acts done by them in furtherance of an action under the

False Claims Act, in violation of 31 U.S.C. §3730(h).

250.     As a result of Defendants’ conduct, Relator and his family members have sustained

economic and other damages and seek punitive damages.

251.     Cementos Argos, Argos Concrete, and Argos USA are jointly and severally liable for the

conduct of the Lafarge/Argos Defendants by virtue of their conduct, successor liability, and alter-

ego liability.

                                            COUNT VI

                          CONSPIRACY TO DISCRIMINATE
                      RELATOR V. LAFARGE/ARGOS DEFENDANTS

252.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.




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253.     Defendants conspired, confederated, and agreed to threaten, harass, discriminate against,

and ultimately terminate Relator in violation, among other things, of 31 U.S.C. § 3730(h).

254.     As a result of Defendants’ conduct, Relator and his family members have sustained

economic and other damages and seek punitive damages.

                                            COUNT VII

                      CONSPIRACY TO INTERFERE CIVIL RIGHTS
                      RELATOR V. LAFARGE/ARGOS DEFENDANDS

255.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

256.     Defendants have conspired, confederated, and/or agreed to interfere with, obstruct, and/or

deprive Relator with regard to his civil rights in violation of 42 U.S.C. § 1985.

257.     As a result of Defendants’ conduct, Relator and his family members have endured pain,

suffering, mental anguish, and sustained economic and other compensatory damages and seek

punitive damages.

                                           COUNT VIII

                 LOSS OF REPUTATION, SLANDER, AND DEFAMATION
                    RELATOR V. LAFARGE/ARGOS DEFENDANTS

258.     Relator realleges and incorporates by reference each of the allegations in the preceding

paragraphs as though fully set forth below.

259.     One or more of the Defendants, including Defendant Greg Melton in particular,

intentionally, and with malice and ill will, have falsely stated or caused others to state falsely that

Relator is not an intelligent, hardworking, successful, honest or truthful person in his business and

other dealings with them.




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260.      Since about December 2013, when the Defendants became aware of the investigation of

the Department of Justice, the Office of the Inspector General, the Department of Defense, the

U.S. Department of Transportation and other federal agencies, Defendant Argos and members of

management including Defendant Greg Melton and his boss Bill Wagner, among others, isolated

intimidated, harassed, threatened, belittled the Relator, and ultimately terminated him, materially

damaging his position and standing within the business community.

261.      In addition to the harassment, discrimination, and retaliatory discharge suffered by Plaintiff

at the hands of the Defendant, Defendant also retaliated against Relator in initiating a civil action

against him which alleged that he engaged in stealing trade secrets in violation of the Defend Trade

Secrets Act (18 U.S.C. § 1836), the Georgia Trade Secrets Act (Ga. Code Ann. § 10-1-760 et seq),

and that he also engaged in computer fraud, conspiracy, and conversion, among other allegations;

See Argos USA, LLC v. Christopher Young and Southeast Ready Mix, LLC Case No.: 1:18-cv-

02797-ELR, United States District Court, Northern District of Georgia, Atlanta Division;

262.      The illegal and retaliatory lawsuit Defendants initiated against Plaintiff contained

allegations that Defendants knew to be false, as now stipulated in the DPA.

263.      In addition to the knowingly false allegations included in Argos’ illegal and retaliatory civil

action, Defendants have published or caused to be published false and defamatory statements about

Plaintiff, similar to those in Defendant’s civil action, in trade publications including Concrete

Products, dated June 22, 2018 titled “Argos USA probes ex-manager’s massive data theft.

264.      These false statements and allegations were published by Defendants with actual or implied

malice.

265.      As a result of Defendant’s conduct, Relator and his family has been injured in their loss of

reputation and standing in the community and have suffered embarrassment, humiliation, and




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mental suffering because of the actions of Defendants and others acting in concert with them,

causing Relators and their family members’ pain, suffering, and mental and physical anguish.

Relator also seeks punitive damages.

                                    PRAYER FOR RELIEF

        WHEREFORE, Relator, on behalf of himself, the United States Government and the

States of South Carolina and Georgia, pray:

(a)     That this Court enter judgment against Defendants, jointly and severally, in an amount

equal to three times the amount of damages the US Government and States of South Carolina

and Georgia have sustained because of Defendants’ actions, plus a civil penalty of at least $5,500

to $11,000 for each action in violation of 31 U.S.C. 3729.

(b)     That in the event that the US. Government proceeds with this action or proceeds with any

alternate remedy available to the Government, Relator be awarded an amount for bringing this

action of at least 15%, but no more than 30%, of the proceeds of this action and of the proceeds

of the alternate remedy or the settlement of any such claim, including the $20,024,015 that has

already been paid.

(c)     That in the event that the United States Government elects not to proceed with this action,

but pursues an alternate remedy, Relator be awarded an amount the Court decides is reasonable

for collecting the civil penalty and damages, which shall not be less than 25% nor more than

30% of the proceeds of this action and of the proceeds of the alternate remedy or the settlement

of such claim.

(d)     that the Relator, and the other named employees of Argos, receive from Defendants,

jointly and severally, all damages and remedies including attorney’s fees available under, among

other things 31 U.S.C. § 3730(h), and 42 U.S.C. § 1985.




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(e)     That the United States Government and Relator receive all relief, both at law and at

equity, to which they may reasonably appear entitled;

(f)     That Relator be awarded all damages allowable by law including compensatory damages

for pain, suffering, physical and mental suffering and injury caused by Defendants’ conduct and

punitive damages.

(g)     That Relator be awarded punitive damages, where allowed by law, because of Defendants

intentional and malicious conduct which victimized Relator and his individual family members

and included economic and emotional harm.

(h)     That Relator be granted such other relief as this Court deems necessary and proper.

        RESPECTFULLY SUBMITTED:



                                             LAW OFFICE OF
                                             DARRELL THOMAS JOHNSON, JR., LLC
                                             Attorneys for Plaintiff

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April 14, 2021




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